Case 1:05-cv-00377-WDM-BNB Document 115 Filed 11/30/06 USDC Colorado Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 JUDGE WALKER D. MILLER

   Civil Action No. 05-cv-377-WDM-BNB

   MOISES CARRANZA REYES,

           Plaintiff,

   v.

   PARK COUNTY, et al.,

           Defendants.


        NOTICE OF DISMISSAL AS TO JAMES BACHMAN, M.D. ONLY ON ALL CLAIMS

   Miller, J.

           The court takes judicial notice that the parties have filed a Stipulated Motion for

   Dismissal With Prejudice (doc no 112), filed November 15, 2006, seeking to dismiss all

   claims against defendant James Bachman M.D. Accordingly, all claims against James

   Bachman, M.D. are dismissed with prejudice, each party to pay his, her or its own costs

   and attorneys’ fees.

           DATED at Denver, Colorado, on November 30, 2006

                                                           BY THE COURT:



                                                           s/ Walker D. Miller
                                                           United States District Judge
